             Case: 4:23-mj-09107-RHH Doc. #: 1 Filed: 05/12/23 Page: 1 of 1 PageID #: 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                     for the
                                              EASTERN DISTRICT
                                                __________ DistrictOF
                                                                    of MISSOURI
                                                                       __________

                  United States of America                              )
                             v.                                         )
                                                                        )        Case No. 4:23 MJ 9107 RHH
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                  EDDIE MARCUS LOVE                                     )        ),/,1*%<5(/,$%/((/(&7521,&0($16
                                                                        )
                                                                        )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                       May 7, 2023                   in the county of                  St. Louis City   in the
      Eastern          District of            Missouri             , the defendant(s) violated:

            Code Section                                                            Offense Description

21 U.S.C. §§ 846 and 841(a)(1)                          Conspiracy to possess with intent to distribute controlled substances
18 U.S.C. § 924(c)                                        Discharge of a firearm in furtherance of a drug trafficking crime
18 U.S.C. § 924(j)                                 Discharge of a firearm in furtherance of a drug trafficking crime resulting in death
18 U.S.C. § 922(g)                                                    Felon in possession of ammunition




         This criminal complaint is based on these facts:
                                                      SEE ATTACHED AFFIDAVIT




         ✔ Continued on the attached sheet.
         u
                                                      ,VWDWHXQGHUSHQDOW\RISHUMXU\WKHIRUJRLQJLVWUXHDQGFRUUHFW


                                                                                                       Complainant’s signature
                                                                                                   TFO David A. Rudolph, FBI
                                                                                                        Printed name and title

Sworn toDWWHVWHGWRDQGDIILUPHGEHIRUHPHYLDUHOLDEOHHOHFWURQLFPHDQVSXUVXDQWWR)HGHUDO5XOHVRI&ULPLQDO3URFHGXUHDQG.


                 05/12/2023
Date:
                                                                                                           Judge’s signature

City and state:                         St. Louis, Missouri                      Honorable Rodney H. Holmes, U.S. Magistrate Judge
                                                                                                        Printed name and title
